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PROB 12C                                                                                Report Date: January 5, 2016
(7/93)

                                        United States District Court                                FILED IN THE
                                                                                                U.S. DISTRICT COURT
                                                                                          EASTERN DISTRICT OF WASHINGTON

                                                        for the
                                                                                           Jan 06, 2016
                                          Eastern District of Washington                       SEAN F. MCAVOY, CLERK



                     Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: John H. Huscusson                         Case Number: 0980 2:14CR00168-TOR-17

 Address of Offender:                     Spokane, Washington 99217

 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge

 Date of Original Sentence: October 7, 2015

 Original Offense:        Conspiracy to Commit Bank Fraud, 18 U.S.C. § 1344, 1349

 Original Sentence:       Prison 1 day;                      Type of Supervision: Supervised Release
                          TSR - 48 day

 Asst. U.S. Attorney:     George Jacobs                      Date Supervision Commenced: October 7, 2015

 Defense Attorney:        Federal Defender’s Office          Date Supervision Expires: October 6, 2019


                                          PETITIONING THE COURT

                 To issue a summons.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           1            Special Condition # 17: You shall undergo a substance abuse evaluation and, if indicated by
                        a licensed/certified treatment provider, enter into and successfully complete an approved
                        substance abuse treatment program, which could include inpatient treatment and aftercare.
                        You shall contribute to the cost of treatment according to your ability to pay. You shall allow
                        full reciprocal disclosure between the supervising officer and treatment provider.

                        Supporting Evidence: John Huscusson violated conditions of his supervised release by failing
                        to participate in substance abuse counseling since supervision commenced on October 7, 2015,
                        contrary to special condition number 17.

                        Mr. Huscusson has missed numerous scheduled substance abuse evaluation dates. He initially
                        scheduled his chemical dependancy evaluation for November 12, 2015. The offender missed
                        this appointment and was allowed to reschedule the assessment for December 12, 2015. Due
                        to Mr. Huscusson being argumentative and evasive regarding his substance abuse history, the
                        assessor let Mr. Huscusson reschedule the assessment for December 23, 2015, so he could re-
                        group and return with more details regarding his history. Mr. Huscusson failed to report for
                        his assessment on December 23, 2015.
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                      Mr. Huscusson has failed to participate in a substance abuse evaluation and/or treatment since
                      he commenced supervised release on October 7, 2015.

          2           Special Condition # 15: You shall abstain from the use of illegal controlled substances, and
                      shall submit to testing (which may include urinalysis or sweat patch), as directed by the
                      supervising officer, but no more than six tests per month, in order to confirm continued
                      abstinence from these substances.

                      Supporting Evidence: Mr. Huscusson violated special condition number 15 by consuming
                      a controlled substance on or about November 12, and December 30, 2015.

                      On November 12, 2015, Mr. Huscusson reported as directed to the vendor site for a random
                      urine test. The sample was tested and returned a presumptive positive reading for
                      methamphetamine and marijuana. At that time, the offender denied use and the sample was
                      sent to the laboratory for confirmation.

                      On November 19, 2015, the sample was returned from the laboratory. The sample tested
                      positive for both marijuana and methamphetamine. Mr. Huscusson was summoned to the U.S.
                      Probation Office on November 23, 2015, and admitted at that time that he had in fact
                      consumed the controlled substances.

                      On December 30, 2015, Mr. Huscusson reported as directed for a random urine test. The
                      sample was tested and returned a presumptive positive reading for marijuana. At that time,
                      the offender admitted to the use of marijuana and signed a drug use admission form.

          3           Mandatory Condition # 2: You shall not commit another federal, state or local crime.

                      Supporting Evidence: John Huscusson was arrested for driving without a valid driver’s
                      license on December 10, 2015.

                      Mr. Huscusson was summoned to the U.S. Probation Office on December 15, 2015, to
                      address the above allegation. He admitted to driving a vehicle on December 10, 2015. Mr.
                      Huscusson does not currently have a valid driver’s license.

The U.S. Probation Office respectfully recommends the Court issue a summons requiring the defendant to appear to
answer to the allegations contained in this petition.



                                          I declare under penalty of perjury that the foregoing is true and correct.

                                                           Executed on:      1/05/2016

                                                                             s/Patrick J. Dennis

                                                                             Patrick J. Dennis
                                                                             U.S. Probation Officer
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 THE COURT ORDERS

 [ ]      No Action
 [ X]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other

                                                               Signature of Judicial Officer

                                                               January 6, 2016
                                                               Date
